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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

                                  :
ERIC LEWIS
                                  :

     v.                           :    Civil Action No. DKC 2004-2687
                                       Criminal Case No. DKC 2002-077
                                  :
UNITED STATES OF AMERICA
                                  :

                       MEMORANDUM OPINION

     Presently pending and ready for resolution in this case is the

motion of pro se Petitioner, Eric Lewis, to vacate, set aside, or

correct sentence under 28 U.S.C. § 2255. (Paper 155).                For the

reasons that follow, the court shall deny Petitioner’s § 2255

motion petition.

I. Background

     On    September   23,   2002,    Petitioner     pleaded      guilty    to

distribution of cocaine in violation of 21 U.S.C. § 841.                    The

parties signed a written plea agreement that Petitioner was guilty

of count seven of the superceding indictment that he knowingly,

intentionally and unlawfully distributed five grams or more of

cocaine base or crack.       That charge carried a maximum of forty

years imprisonment.      The other charges in the indictment were

dropped as part of the plea agreement. Petitioner was sentenced to

ninety-seven months imprisonment and to five years of supervised

release.

     During   Petitioner’s    plea    colloquy,    the    court   thoroughly

reviewed the plea agreement with Petitioner.             In particular, the
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court informed Petitioner that he had “the absolute right to plead

not guilty” and asked if he understood that “no one can make you

come in here and enter a guilty plea.”              (Paper 172, Ex. B, Re-

arraignment/Guilty Plea Trans., at 6).             The court also informed

Petitioner that he “need[ed] to understand that it is possible that

[the court] will not agree with all of the proposed guideline

findings and stipulations” and that Petitioner would not “be

allo[we]d to withdraw your guilty plea if that should happen.” (Id.

at 8-9). The court also informed Petitioner that he was “not going

to   be   allowed    to   withdraw   [his]    guilty   plea      no   matter     what

decisions [the court] ma[de] with regard to the guidelines.”                     (Id.

at 18).

      The court took lengths to clarify that Petitioner was indeed

attempting to plead guilty and that he was doing so of his own

volition.      The    court   obtained     an   affirmative       response       from

Petitioner when it queried if he “agree[d] that overall [he was]

responsible, either because [he] personally handled [cocaine] or []

stored it or [] assisted someone else, in distributing at least 50

grams of crack.” (Id. at 16).              The Court also confirmed with

Petitioner that he was not “threatened in any way” in connection

with his plea.       (Id. at 21).

      The court also reviewed the issue of a potential two level

reduction in sentencing if Petitioner complied with the fifth

requirement of his plea agreement under the so-called “safety valve


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provision” of U.S. Sentencing Guideline §5C1.2(a)(1)-(5).                     The

court informed Petitioner that if he did something that the

government considered an obstruction of justice or if he failed to

accept responsibility for his conduct, the government would inform

the court and request that the court move higher in the guidelines

as a result. (Paper 172, Ex. B, Re-arraignment/Guilty Plea Trans.,

at 18-19).

     Finally the court discussed Petitioner’s interactions with his

trial counsel with him.        Petitioner informed the court that his

trial counsel and he had reviewed the plea agreement “at least

about 4, 5 times, just to go over it, make sure that my head is

straight on what I’m pleading for. . . .”         (Id. at 21).       Petitioner

also responded affirmatively when the court asked him whether his

trial counsel “always had the time that [Petitioner] thought was

necessary to talk with [him] about this case,” as well as to

questions    about   whether    he   was   satisfied   with    his   counsel’s

performance and whether his counsel had answered all of his

questions.    (Id. at 21).

     The Government and the Petitioner agreed to a statement of

facts, including that Petitioner “distributed 5 grams or more of a

mixture or substance containing a detectable amount of cocaine

base” and that “[a]t least 50 but not more than 150 grams of

cocaine base were involved in the offense.”             (Paper 172, Ex. A,

Plea Agreement ¶¶ 2, 6).         Petitioner signed the plea agreement


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affirming that the facts presented by the Government therein were

true, and that he was in fact guilty of the charged offense.                    (Id.

at 1, 7).    Petitioner also indicated that he understood the plea

agreement, including the waiver of appeal rights other than the

right to appeal if the court departed from the sentence guideline

range or exceeded the statutory maximum sentence. (Id. at 5-6, 7).

     Petitioner filed the pending motion to vacate and set aside

his sentence pursuant to 28 U.S.C. § 2255 on August 16, 2004.

(Paper 155).      In that motion, Petitioner raises the following four

claims: 1) that his sentence was unlawfully enhanced beyond the

conceded factual basis in violation of his Sixth Amendment right to

a trial by jury per Blakely v. Washington, 542 U.S. 296 (2004); 2)

that his guilty plea was not voluntary; 3) that he received

ineffective assistance of counsel in advance of his plea; and 4)

that he received ineffective assistance of counsel in preparing his

appeal.

     On August 30, 2004, the court entered an Order directing the

United States to show cause why the motion to vacate should not be

granted.     (Paper 157).        The Government filed its response in

opposition to Petitioner’s § 2255 motion on December 13, 2004.

(Paper    172).     In   that   document,      the   Government    argued       that

Petitioner’s claims consist primarily of an argument that he

received ineffective assistance of counsel on appeal.               (Id. at 4).

The Government asserted that Petitioner’s ineffective assistance


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claim       must      fail   because        it       establishes     neither     deficient

performance nor actual prejudice as required for a successful

ineffective           assistance       of   counsel      claim     under   Strickland      v.

Washington, 466 U.S. 668 (1984).                     (Id. at 4-8).    Specifically, the

government argues that: 1) Petitioner was not entitled to appeal

his sentence because he waived his right to do so; 2) Petitioner’s

appellate counsel was not deficient in failing to review and

provide Petitioner with a copy of his trial transcript because

appellate counsel did in fact provide Petitioner with a copy; and

3) Petitioner’s complaint that his appellate counsel did not keep

him adequately informed of the status of his case is not in accord

with the facts.           (Id. at 7).1

II. Standard of Review

       Title       28   U.S.C.     §    2255     requires     a   Petitioner     asserting

constitutional error to prove by a preponderance of the evidence

that “the sentence was imposed in violation of the Constitution or

laws       of   the     United   States,         or   that   the    court     was   without

jurisdiction to impose such sentence, or that the sentence was in

excess of the maximum authorized by law.”                           On the other hand,

“[t]he scope of review of non-constitutional error is more limited

than that of constitutional error; a non-constitutional error does

not provide a basis for collateral attack unless it involves ‘a



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       The United States’ response does not directly respond to
Petitioner’s other arguments.

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fundamental     defect   which   inherently     results        in   a   complete

miscarriage of justice,’ or is ‘inconsistent with the rudimentary

demands of fair procedure.’”       United States v. Mikalajunas, 186

F.3d 490, 495-96 (4th Cir. 1999) (internal citations omitted).

While a pro se movant is entitled to have his arguments reviewed

with appropriate consideration, see Gordon v. Leeke, 574 F.2d 1147,

1151-53 (4th Cir. 1978), if the § 2255 motion, along with the files

and records of the case, conclusively shows that he is entitled to

no relief, a hearing on the motion is unnecessary and the claims

raised in the motion may be dismissed summarily. 28 U.S.C. § 2255.

Furthermore, only issues that have not been waived may be raised:

          In order to collaterally attack a conviction
          or sentence based upon errors that could have
          been but were not pursued on direct appeal,
          the movant must show cause and actual
          prejudice resulting from the errors of which
          he complains or he must demonstrate that a
          miscarriage of justice would result from the
          refusal of the court to entertain the
          collateral attack. The existence of cause for
          a procedural default must turn on something
          external to the defense, such as the novelty
          of the claim or a denial of effective
          assistance of counsel.     And, in order to
          demonstrate that a miscarriage of justice
          would result from the refusal of the court to
          entertain the collateral attack, a movant must
          show actual innocence by clear and convincing
          evidence.

Mikalajunas, 186 F.3d at 492-93.

III. Analysis

     A conviction and sentence based on a guilty plea can only be

collaterally attacked on relatively narrow grounds, including that

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the    plea    was   not   voluntary,       that    the    Petitioner      received

ineffective assistance of counsel, or that the court clearly lacked

authority to impose the sentence.

              A plea of guilty and the ensuing conviction
              comprehend all of the factual and legal
              elements necessary to sustain a binding, final
              judgment of guilt and a lawful sentence.
              Accordingly, when the judgment of conviction
              upon a guilty plea has become final and the
              offender seeks to reopen the proceeding, the
              inquiry is ordinarily confined to whether the
              underlying plea was both counseled and
              voluntary.     If the answer is in the
              affirmative then the conviction and the plea,
              as a general rule, foreclose the collateral
              attack.   There are exceptions where on the
              face of the record the court had no power to
              enter the conviction or impose the sentence.

United States v. Broce, 488 U.S. 563, 569 (1989).

      Petitioner must have more than mere allegations to create

factual disputes with the sworn testimony he offered in his plea

proceeding because “[s]olemn declarations in open court carry a

strong presumption of verity.               The subsequent presentation of

conclusory allegations unsupported by specifics is subject to

summary dismissal, as are contentions that in the face of the

record are wholly incredible.” Blackledge v. Allison, 431 U.S. 63,

73-74 (1977).

1. Enhanced Sentence and Blakely v. Washington

      Petitioner argues that his sentence constitutes an unlawful

sentencing enhancement under Blakely v. Washington.                 Specifically,

Petitioner claims that he never admitted having sold more than 5


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grams of cocaine base.          He asserts that the proper guideline base

offense level was 26, and that a two point reduction for acceptance

of   responsibility       would    result     in    an    adjusted      level    to    24.

Instead,     the    court   used    the   base     offense       of    32,    which    was

recommended in the presentence report and stipulated to in the

written     plea    agreement.       After    the    two    level      reduction       for

acceptance of responsibility, the adjusted offense level was 30.

       The record is replete with evidence that establishes that

Petitioner pleaded guilty to distributing 5 grams or more of

cocaine base.        See Paper 172, Ex. A, Plea Agreement ¶ 1, 2; see

also Paper 172, Ex. B, Re-arraignment/Guilty Plea Trans., at 5,

15).    The written statement of facts that is part of the agreement

Petitioner signed recounted controlled buys of 54.1 grams of crack.

While Petitioner was not willing at the plea colloquy to agree to

all of the specific dates or amounts, he did admit ultimately “that

overall     [he    was]   responsible,      either       because      [he]   personally

handled it or [] stored it or [] assisted someone else, in

distributing at least 50 grams of crack.”                 Id. at 16. Accordingly,

Petitioner’s claim that he “never admitted to selling more than 5

grams of cocaine base” fails.

       Petitioner was charged in count seven with distributing 5

grams or more of cocaine base, carrying a mandatory minimum

sentence     of    five   years,    and   a   maximum       of   40.         Blakely    v.




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Washington, 542 U.S. 296 (2004), decided on June 24, 2004,2 held

that, under the Washington state sentencing law, the imposition of

a sentence higher than the normally applicable range based on facts

found    by   the   sentencing   judge,     but    neither     admitted    by     the

defendant nor found by a jury, violated a defendant’s rights under

the Sixth Amendment.         Blakely       is inapposite where, as here,

Petitioner was not sentenced in excess of the applicable statutory

maximum.      At Petitioner’s sentencing, the court did not rely on

facts outside the record to sentence Petitioner to a sentence

higher than the statutory maximum.            Rather, the court determined

the guidelines based only on facts admitted by Petitioner, and

found that Petitioner was not eligible for a two level reduction

because he failed to meet the fifth requirement of the safety valve

provision by not revealing “all he knows” about the charged offense

and the court sentenced Petitioner to a term of imprisonment within

the applicable guidelines.




     2
       The Fourth Circuit held that Blakely is not available for
retroactive application to § 2255 post-conviction relief movants in
Morris v. United States, 429 F.3d 65 (4th Cir. 2005).       Blakely
applies prospectively and only to those cases on direct appeal at
the time of the Supreme Court’s decisions.          Id. at 71-72.
Defendant’s conviction might not have been final when Blakely was
decided, so the court will determine whether Petitioner’s claim
falls within that decision.      On the other hand, Petitioner’s
conviction clearly was final when United States v. Booker, 543 U.S.
220 (2005), was decided. Accordingly, that opinion’s holding that
the mandatory application of the U.S. Sentencing Guidelines was
unconstitutional does not apply to Petitioner. See Morris, 429
F.3d 65.

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2. Voluntariness of Plea

       Next, Petitioner contends that his plea was not voluntary

because he did not understand the consequences of pleading guilty

and because the Assistant U.S. Attorney told him he would get a

more stringent sentence if he did not plead guilty.                  He points to

the interruption in the plea proceeding when Petitioner initially

did not agree with the statement of facts included in the written

plea agreement. He asserts that the prosecutor made some statement

or promise to him in the hallway, which now should undermine the

voluntariness of his plea.

       The further discussion with the court is, however, fatal to

this claim.    Before accepting his plea, the court inquired whether

“[o]ther than what’s written down in this written plea agreement,

has anybody made any promise to you to induce you to plead guilty?”

Petitioner answered, no.         Petitioner also informed the court that

he was not “threatened [] in any way.”                 (Paper 172, Ex. B, Re-

arraignment/Guilty Plea Trans., at 21).             Furthermore, Petitioner’s

plea agreement emphasizes that Petitioner “expressly understands

that   the   Court   is   not    a   party   to    [the]    agreement”     between

Petitioner and the Government as to the Government’s recommended

sentence. (Paper 172, Ex. A, Plea Agreement ¶ 9). At Petitioner’s

re-arraignment, the court took lengths to clarify that Petitioner

was indeed attempting to plead guilty and that he was doing so of

his own volition.     Because the voluntariness of Petitioner’s plea


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is evident from the record and has not been undermined by any new

evidence, Petitioner’s second claim fails.

3. Ineffective Assistance of Counsel

     Petitioner’s third and fourth claims assert that he was denied

the effective assistance of counsel.       His third claim alleges that

his trial counsel failed to sufficiently investigate the charges

against him, did not spend adequate time discussing the case with

him, failed to obtain a lab report, and failed to file a timely

appeal.   His fourth claim argues that he was denied the effective

assistance of counsel on appeal because he believes that no one

from the firm ever met with him and because he claims that they

failed to send him some requested documents.

     Claims of ineffective assistance of counsel may be raised for

the first time on collateral review. Massaro v. United States, 538

U.S. 500, 504 (2003).       In Strickland v. Washington, the Supreme

Court established a two-prong test that a petitioner must satisfy

to prevail on an ineffective assistance of counsel claim. 466 U.S.

at 687. First, the petitioner must show that counsel's performance

was deficient when measured against an objective standard of

reasonableness.   Id. at 687-688.    Second, the petitioner must show

that counsel’s deficient performance prejudiced the defense, by

depriving the petitioner of “a trial whose result is reliable.”

Id. at 687.




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     To establish the first prong, Petitioner must produce evidence

that counsel’s performance was not “within the range of competence

demanded of attorneys in criminal cases.”        Id. at 687.      There is a

presumption that counsel’s actions are strategic trial decisions.

Id. at 689.    The court is thus highly deferential to counsel’s

decisions and reviews the challenged conduct in light of the

totality of circumstances.      Id. at 689-90.

     As for the second prong, Petitioner must show that but for his

counsel’s deficient performance, the result of the proceedings

would have been different.      See id. To establish the second prong,

a “defendant [who has pleaded guilty] must show that there is a

reasonable probability that, but for counsel’s errors, he would not

have pleaded guilty and would have insisted on going to trial.”

Hill v. Lockhart, 474 U.S. 52, 59 (1985).

     Petitioner’s claim that his trial counsel was deficient fails.

Petitioner alleges that his trial counsel did not investigate

sufficiently the charges against him, did not spend adequate time

discussing the case with him, and failed to file a timely appeal.

(Paper 155, at 5-6).        Petitioner’s claims are undermined by his

testimony at his re-arraignment.         During his plea colloquy, the

court discussed Petitioner’s interactions with his trial counsel

with him. Petitioner informed the court that his trial counsel and

he had reviewed the plea agreement “at least about 4, 5 times, just

to go over it, make sure that my head is straight on what I’m


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pleading for.”        (Paper 172, Ex. B, Re-arraignment/Guilty Plea

Trans., at 21).       Petitioner also responded affirmatively when the

court   asked   him     if   his    trial       counsel   spent        sufficient   time

discussing the case with him as well as to questions about whether

he was satisfied with his counsel’s performance and whether his

counsel had answered all of his questions.                  (Id. at 21).

     Petitioner’s claim that trial counsel failed to obtain a lab

report which might have shown that one of his illicit transactions

involved   less    than      5   grams      of    cocaine       also    fails   because

Petitioner’s     plea    agreement        acknowledged      that       the   particular

transaction     involved     5     or   more     grams    and    because     Petitioner

conceded that between 50 and 150 grams of cocaine base were

involved in his overall distribution activities.                       (Paper 172, Ex.

A, Plea Agreement ¶ 6).                 Further, Petitioner has provided no

evidence in support of his claim that a lab report would show that

less than 5 grams of cocaine were involved.                       Petitioner’s mere

allegation of a factual dispute with the sworn testimony he offered

in his plea proceeding without any supporting specifics is subject

to dismissal because of the strong presumption of validity provided

to sworn declarations in open court.                 Blackledge v. Allison, 431

U.S. 63, 73-74 (1977).

     Petitioner has not shown any prejudice as a result of his

trial counsel’s performance.              While Petitioner alleges that his

trial counsel failed to file a timely appeal, Petitioner was


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ultimately permitted to file the appeal.                 Further, Petitioner

waived his right to appeal when he entered his plea agreement with

the government (paper 172, Ex. A, Plea Agreement, at 5-6) and a

knowing   and    intelligent     waiver   of    the     right   to   appeal     is

enforceable when it is confirmed at a Rule 11 hearing, as here.

United States v. Attar, 38 F.3d 727, 731-732 (4th Cir. 1994).

Accordingly, even if Petitioner’s counsel was deficient in not

filing an appeal, Petitioner cannot show prejudice as a result.

     Similarly, Petitioner’s claim that his appellate counsel was

deficient has not been established. Petitioner asserts that he was

never interviewed by his appellate counsel, that his appellate

counsel never ordered his sentencing transcript, and that he never

received any copies of papers from his appellate counsel concerning

his appeal.      (Paper 155, at 6).         The record establishes that

Petitioner’s appellate counsel did order the sentencing transcript,

and indeed, eventually provided a copy of it to Petitioner. (Paper

172, Ex. H1).      Further, the record demonstrates that appellate

counsel   took    efforts   to     obtain      Fourth    Circuit     review     of

Petitioner’s conviction despite the fact that the appeal had not

been noted timely and Petitioner had waived his right to appellate

review.   Petitioner’s appeal was not denied because of deficient

performance by his counsel, but rather because he knowingly and

voluntarily waived his appellate rights when he agreed to his plea

at re-arraignment.    Because Petitioner has not established that he


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received deficient representation and has not established that he

was prejudiced by his counsels’ performance, his third and fourth

claims fail.

V. CONCLUSION

     For the foregoing reasons, Petitioner’s motion under § 2255 to

vacate, set aside, or correct his sentence is DENIED. A separate

Order will be entered.


                                         /s/
                                 DEBORAH K. CHASANOW
                                 United States District Judge




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